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                      EXHIBIT B
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 STATE OF SOUTH CAROLINA                IN THE COURT OF COMMON PLEAS
                                        FOR THE FOURTEENTH JUDICIAL CIRCUIT
 COUNTY OF HAMPTON                      CIVIL ACTION NO.: 2022-CP-25-______

 Darren Hartness,

               Plaintiff,
                                                             SUMMONS
 v.                                                    (Jury Trial Demanded)

 Love’s Travel Stops & Country
 Stores, Inc. d/b/a Love’s #740 and
 Jeffrey Lee,

               Defendants.


TO THE DEFENDANTS ABOVE-NAMED:

YOU ARE HEREBY SUMMONED AND REQUIRED to answer the Complaint in this
action. A copy of the Complaint is attached to this Summons and is herewith served upon
you. Your answer must be in writing and signed by you or by your attorney and must state
your address or the address of your attorney if signed by your attorney. Your answer must
be served upon the undersigned attorneys for the Plaintiff within thirty (30) days after the
service hereof, exclusive of the day of service at Post Office Box 1885, Pawleys Island,
South Carolina 29585.

YOU ARE HEREBY GIVEN NOTICE FURTHER that, if you fail to appear and defend and
fail to answer the Complaint as required by this Summons within thirty (30) days after the
service hereof, judgment by default will be rendered against you for the relief demanded
in the Complaint.

                                          HOPKINS LAW FIRM, LLC

                                          s/ J. Clay Hopkins
                                          J. Clay Hopkins, SC Bar #102053
                                          12019 Ocean Highway
                                          Post Office Box 1885
                                          Pawleys Island, South Carolina 29585
                                          Telephone – (843) 314-4202
                                          Facsimile – (843) 314-9365
                                          clay@hopkinsfirm.com

                                          Attorney for the Plaintiff
Pawleys Island, South Carolina
July 13, 2022



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 STATE OF SOUTH CAROLINA                 IN THE COURT OF COMMON PLEAS
                                         FOR THE FOURTEENTH JUDICIAL CIRCUIT
 COUNTY OF HAMPTON                       CIVIL ACTION NO.: 2022-CP-25-______

 Darren Hartness,

              Plaintiff
                                                            COMPLAINT
 v.                                                    (Jury Trial Demanded)

 Love’s Travel Stops & Country
 Stores, Inc. d/b/a Love’s #740 and
 Jeffrey Lee,

              Defendants.


       Darren Hartness (hereinafter referred to as “Plaintiff”), complaining of the

Defendant Love’s Travel Stops and Country Stores, Inc. d/b/a Love’s #740 and Jeffrey

Lee (collectively referred to as “Defendants”), would allege and show as follows:

                                NATURE OF THE CASE

       1.    This action arises out of injuries Plaintiff sustained on or around May 15,

2021, while on premises, upon information and belief, owned, maintained, and operated

by Defendants.

       2.    Plaintiff seeks monetary relief from Defendants for their negligent, grossly

negligent, and reckless violation of duties owed to Plaintiff, including Defendants’ duties

to maintain the premises in a reasonably safe condition, and to warn against and eliminate

known dangers and unreasonable risks.

                                        PARTIES

       3.    Plaintiff is a citizen and resident of Drew County, Arkansas.

       4.    Upon information and belief, Defendant Love’s Travel Stops & Country

Stores, Inc. (“Love’s”) is a corporation organized and existing under the laws of the State



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                                                                                              ELECTRONICALLY FILED - 2022 Jul 19 9:25 AM - HAMPTON - COMMON PLEAS - CASE#2022CP2500199
of Oklahoma that does business as a chain of travel stops and gas stations in Hampton

County, South Carolina and throughout the United States. Upon information and belief,

Defendant Love’s owns and does business in Hampton County, South Carolina as Love’s

#740 at 490 Yemassee Highway, Yemassee, South Carolina (the “travel stop”).

      5.     Upon information and belief, Defendant Jeffrey Lee (“Lee”) is a citizen and

resident of Dorchester County, South Carolina, and at all times relevant to the allegations

contained in this Complaint, was acting as the manager of the travel stop, and an

employee of Defendant Love’s, seeking to further its business.

      6.     That at all relevant times herein, Defendant Love’s had the right to direct

and control, and was acting by and through, its agents and employees, who at all such

times were acting on the behalf of, within the course and scope of their agency and

employment with, and to further the business of Defendant Love’s, making Defendant

Love’s liable for their actions and omissions pursuant to the doctrine of respondeat

superior.

      7.     That at all relevant times herein, Lee, acting manager, was in control of the

travel stop premises, and therefore had a duty to travel stop customers to protect them

from dangerous conditions of which he had notice or could reasonably anticipate, making

him, as well as his employer, Defendant Love’s, liable for his actions and omissions.

                              JURISDICTION AND VENUE

      8.     Venue and jurisdiction are proper in the Circuit Court of Hampton County

because Defendant owns and operates a business in Hampton County, and because the

acts or omissions giving rise to Plaintiff’s cause(s) of action occurred in Hampton County,

South Carolina.




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                                                                                                 ELECTRONICALLY FILED - 2022 Jul 19 9:25 AM - HAMPTON - COMMON PLEAS - CASE#2022CP2500199
                                            FACTS

        9.      On or about May 15, 2021, Plaintiff was a customer/invitee at the travel stop,

which is owned, operated, and maintained by Defendants.

        10.     That Plaintiff is a truck driver, and parked his truck, and as he was getting

out of his truck and stepping onto the travel stop’s premises, stepped into oil and/or fuel

that was left on the ground, and slipped and fell to the ground through no fault of his own.

        11.     That before Plaintiff fell, Defendant Lee was aware that there was oil and/or

fuel on the ground and was aware that it was a dangerous condition for Defendants’

customers and invitees.

        12.     Upon information and belief, Defendant Lee placed straw on the ground, in

an apparent attempt to soak up the oil and/or fuel but did not attempt to verbally warn

Plaintiff or other customers/invitees of the dangerous condition or put up any warning

signs to customers/invitees.

        13.     That Defendant Lee, by virtue of his position as acting manager, had a

sufficient degree of control over the travel stop premises such that he had a duty to

exercise reasonable care to remedy the dangerous condition in the public thoroughfare

that resulted in Plaintiff’s fall.

        14.     That if Plaintiff was warned about the dangerous condition, he would not

have slipped and fallen.

        15.     As a result, Plaintiff incurred medical expenses, pain and suffering, stress,

embarrassment, and mental distress because of the acts and/or omissions of Defendants.




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                           FOR A FIRST CAUSE OF ACTION
                    (Premises Liability – Negligence as to an Invitee)

         16.   Plaintiff reiterates and realleges each and every allegation as if fully set forth

herein.

         17.   Plaintiff was always an invitee on the Premises and was on Defendants’

property with the express and/or implied permission of Defendants and for the purpose

of benefitting Defendants.

         18.   Defendants had a duty to Plaintiff, and to the public, to maintain the travel

stop’s premises, and especially areas where Defendants knew that persons such as

Plaintiff regularly travelled and traversed, in a reasonable, safe, and usable manner, and

otherwise owed a duty to exercise reasonable care correlating to the failures mentioned

below.

         19.   That Defendants were careless, negligent, grossly negligent, reckless,

willful and wanton in one or more of the following manners:

               a.     In failing to timely warn invitees, including Plaintiff, of the dangerous

                      condition posed by the oil and/or fuel at a public thoroughfare of its

                      travel stop;

               b.     In failing to timely remedy the dangerous condition posed by the oil

                      and/or diesel at a public thoroughfare of its travel stop;

               c.     In failing to safely maintain the public thoroughfare of its travel stop;

               d.     In failing to timely remove oil and/or fuel at the public thoroughfare of

                      its travel stop;

               e.     In failing to timely inspect the public thoroughfare of its travel stop;

               f.     In failing to warn the public of the dangers of the dangerous



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                                                                                            ELECTRONICALLY FILED - 2022 Jul 19 9:25 AM - HAMPTON - COMMON PLEAS - CASE#2022CP2500199
                   condition;

       g.          In failing to use, place, or change out adequate safety precautions at

                   the public thoroughfare of its travel stop to protect the ambulating

                   public from stepping into or around the spilled oil and/or fuel;

       h.          In failing to have adequate policies, procedures, and/or protocols,

                   and in failing to adequately train its employees, relating to:

             i.           Inspection of the public thoroughfare;

            ii.           Maintenance of the public thoroughfare;

            iii.          Procurement and/or timely replacement or clean up of the

                          public thoroughfare to protect the ambulating public from

                          stepping into or around the spilled oil and/or fuel;

            iv.           Timely placement and/or use of adequate warning devices,

                          signs, or other safety measures to warn the public of the

                          spilled oil and/or fuel;

       i.          In failing to properly or adequately train travel stop employees

                   regarding public thoroughfare safety, or otherwise;

       j.          In failing to abide by industry standards and best practices regarding

                   thoroughfare cleanup, maintenance, warnings, and safety;

       k.          In failing to timely and properly place or install adequate devices,

                   signs, or other safety precautions to warn of thoroughfare hazards;

       l.          In failing to place an appropriate, adequate, or dry mat or covering

                   over the spilled oil and/or fuel;

       m.          In failing to act as a reasonably prudent property owner would have




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                                                                                                 ELECTRONICALLY FILED - 2022 Jul 19 9:25 AM - HAMPTON - COMMON PLEAS - CASE#2022CP2500199
                     acted relating to accessibility, usability, and safety of its public

                     thoroughfares;

              n.     In failing to abide by statutes, regulations, standards, guidelines, and

                     codes relating to the clean up of an oil or fuel spill;

              o.     In otherwise allowing a dangerous accumulation of oil and/or fuel to

                     remain on the ground in its public thoroughfare;

              p.     In failing to inquire about, or to abide by, recommendations,

                     instructions, or best practices relating to the adequate placement,

                     installation, adherence, inspection, replacement, or maintenance of

                     adequate oil or fuel spill clean up measures, including, but not limited

                     to, absorbents;

              q.     In failing to sweep up or pick up any absorbed materials;

              r.     in designing, specifying, installing, constructing, and maintaining a

                     public thoroughfare that is not sufficiently slip resistant when oil

                     and/or fuel spills to meet the requirements of applicable statutes,

                     regulations, standards, guidelines, and codes relating to accessibility

                     and safety, or otherwise sufficiently slip-resistant to be safe for the

                     public; and

              s.     In such other particulars as the evidence produced in discovery and

                     at trial may show.

       20.    As a direct and proximate result of Defendants’ negligence regarding this

incident, Plaintiff suffered past, present, and future damages, including, but not limited to,

loss of income, loss or impairment of earning capacity, out-of-pocket expenses, medical




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                                                                                               ELECTRONICALLY FILED - 2022 Jul 19 9:25 AM - HAMPTON - COMMON PLEAS - CASE#2022CP2500199
expenses and transportation expenses connected with medical treatment, future

damages resulting from permanent injuries, loss of family services, alteration of lifestyle,

psychological trauma, mental anguish, mental distress, apprehension, anxiety, emotional

injury, psychological injury, depression, pain and suffering, and loss of enjoyment of life.

       21.      Upon information and belief, Plaintiff is entitled to judgment against

Defendants, jointly and severally, for actual and punitive damages for their negligence,

gross negligence, carelessness, recklessness, and willful and wanton acts and/or

omissions.

       WHEREFORE, having set forth his Complaint, Plaintiff would respectfully request

judgment against Defendants, jointly and severally, for actual damages, punitive

damages, costs, attorney’s fees, pre-judgment interest, and any other relief the Court may

deem just and equitable.

       Plaintiff hereby demands a trial by jury.

                                          HOPKINS LAW FIRM, LLC

                                          s/ J. Clay Hopkins
                                          J. Clay Hopkins, SC Bar #102053
                                          12019 Ocean Highway
                                          Post Office Box 1885
                                          Pawleys Island, South Carolina 29585
                                          (843) 314-4202 - Telephone
                                          (843) 314-9365 - Facsimile
                                          clay@hopkinsfirm.com

                                          Attorney for the Plaintiff

Pawleys Island, South Carolina

July 19, 2022




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 STATE OF SOUTH CAROLINA                IN THE COURT OF COMMON PLEAS
                                        FOR THE FOURTEENTH JUDICIAL CIRCUIT
 COUNTY OF HAMPTON                      CIVIL ACTION NO.: 2022-CP-25-00199

 Darren Hartness,

               Plaintiff,
                                                       AMENDED SUMMONS
 v.                                                    (Jury Trial Demanded)

 Love’s Travel Stops & Country
 Stores, Inc. d/b/a Love’s #740,
 Jeffrey Lee and Catherine Lee,

               Defendants.


TO THE DEFENDANTS ABOVE-NAMED:

YOU ARE HEREBY SUMMONED AND REQUIRED to answer the Complaint in this
action. A copy of the Complaint is attached to this Summons and is herewith served upon
you. Your answer must be in writing and signed by you or by your attorney and must state
your address or the address of your attorney if signed by your attorney. Your answer must
be served upon the undersigned attorneys for the Plaintiff within thirty (30) days after the
service hereof, exclusive of the day of service at Post Office Box 1885, Pawleys Island,
South Carolina 29585.

YOU ARE HEREBY GIVEN NOTICE FURTHER that, if you fail to appear and defend and
fail to answer the Complaint as required by this Summons within thirty (30) days after the
service hereof, judgment by default will be rendered against you for the relief demanded
in the Complaint.

                                          HOPKINS LAW FIRM, LLC

                                          s/ J. Clay Hopkins
                                          J. Clay Hopkins, SC Bar #102053
                                          12019 Ocean Highway
                                          Post Office Box 1885
                                          Pawleys Island, South Carolina 29585
                                          Telephone – (843) 314-4202
                                          Facsimile – (843) 314-9365
                                          clay@hopkinsfirm.com

                                          Attorney for the Plaintiff
Pawleys Island, South Carolina
August 2, 2022



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 STATE OF SOUTH CAROLINA                 IN THE COURT OF COMMON PLEAS
                                         FOR THE FOURTEENTH JUDICIAL CIRCUIT
 COUNTY OF HAMPTON                       CIVIL ACTION NO.: 2022-CP-25-00199

 Darren Hartness,

               Plaintiff
                                                       AMENDED COMPLAINT
 v.                                                     (Jury Trial Demanded)

 Love’s Travel Stops & Country
 Stores, Inc. d/b/a Love’s #740,
 Jeffrey Lee and Catherine Lee,

               Defendants.


        Darren Hartness (hereinafter referred to as “Plaintiff”), complaining of the

Defendant Love’s Travel Stops and Country Stores, Inc. d/b/a Love’s #740 and Jeffrey

Lee (collectively referred to as “Defendants”), would allege and show as follows:

                                 NATURE OF THE CASE

        1.    This action arises out of injuries Plaintiff sustained on or around May 15,

2021, while on premises, upon information and belief, owned, maintained, and operated

by Defendants.

        2.    Plaintiff seeks monetary relief from Defendants for their negligent, grossly

negligent, and reckless violation of duties owed to Plaintiff, including Defendants’ duties

to maintain the premises in a reasonably safe condition, and to warn against and eliminate

known dangers and unreasonable risks.

                                        PARTIES

        3.    Plaintiff is a citizen and resident of Drew County, Arkansas.

        4.    Upon information and belief, Defendant Love’s Travel Stops & Country

Stores, Inc. (“Love’s”) is a corporation organized and existing under the laws of the State



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                                                                                              ELECTRONICALLY FILED - 2022 Aug 02 12:35 PM - HAMPTON - COMMON PLEAS - CASE#2022CP2500199
of Oklahoma that does business as a chain of travel stops and gas stations in Hampton

County, South Carolina and throughout the United States. Upon information and belief,

Defendant Love’s owns and does business in Hampton County, South Carolina as Love’s

#740 at 490 Yemassee Highway, Yemassee, South Carolina (the “travel stop”).

      5.     Upon information and belief, Defendant Jeffrey Lee (“Jeffrey”) is a citizen

and resident of Dorchester County, South Carolina, and at all times relevant to the

allegations contained in this Complaint, was acting as the manager of the travel stop, and

an employee of Defendant Love’s, seeking to further its business.

      6.     Upon information and belief, Defendant Catherine Lee (“Catherine”) is a

citizen and resident of Dorchester County, South Carolina, and at all times relevant to the

allegations contained in this Complaint, was acting as the manager of the travel stop, and

an employee of Defendant Love’s, seeking to further its business.

      7.     That at all relevant times herein, Defendant Love’s had the right to direct

and control, and was acting by and through, its agents and employees, who at all such

times were acting on the behalf of, within the course and scope of their agency and

employment with, and to further the business of Defendant Love’s, making Defendant

Love’s liable for their actions and omissions pursuant to the doctrine of respondeat

superior.

      8.     That at all relevant times herein, Jeffrey and Catherine, acting managers,

were in control of the travel stop premises, and therefore had a duty to travel stop

customers to protect them from dangerous conditions of which they had notice or could

reasonably anticipate, making them, as well as their employer, Defendant Love’s, liable

for their actions and omissions.




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                                                                                                ELECTRONICALLY FILED - 2022 Aug 02 12:35 PM - HAMPTON - COMMON PLEAS - CASE#2022CP2500199
                                JURISDICTION AND VENUE

       9.      Venue and jurisdiction are proper in the Circuit Court of Hampton County

because Defendant owns and operates a business in Hampton County, and because the

acts or omissions giving rise to Plaintiff’s cause(s) of action occurred in Hampton County,

South Carolina.

                                            FACTS

       10.     On or about May 15, 2021, Plaintiff was a customer/invitee at the travel stop,

which is owned, operated, and maintained by Defendants.

       11.     That Plaintiff is a truck driver, and parked his truck, and as he was getting

out of his truck and stepping onto the travel stop’s premises, stepped into oil and/or fuel

that was left on the ground, and slipped and fell to the ground through no fault of his own.

       12.     That before Plaintiff fell, Defendants Jeffrey and Catherine were aware that

there was oil and/or fuel on the ground and were aware that it was a dangerous condition

for Defendants’ customers and invitees.

       13.     Upon information and belief, Defendant Catherine placed straw on the

ground, in an apparent attempt to soak up the oil and/or fuel but did not attempt to verbally

warn Plaintiff or other customers/invitees of the dangerous condition or put up any

warning signs to customers/invitees.

       14.     That Defendants Jeffrey and Catherine, by virtue of their position as acting

managers, had a sufficient degree of control over the travel stop premises such that they

had a duty to exercise reasonable care to remedy the dangerous condition in the public

thoroughfare that resulted in Plaintiff’s fall.




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         15.   That if Plaintiff was warned about the dangerous condition, he would not

have slipped and fallen.

         16.   As a result, Plaintiff incurred medical expenses, pain and suffering, stress,

embarrassment, and mental distress because of the acts and/or omissions of Defendants.

                           FOR A FIRST CAUSE OF ACTION
                    (Premises Liability – Negligence as to an Invitee)

         17.   Plaintiff reiterates and realleges each and every allegation as if fully set forth

herein.

         18.   Plaintiff was always an invitee on the Premises and was on Defendants’

property with the express and/or implied permission of Defendants and for the purpose

of benefitting Defendants.

         19.   Defendants had a duty to Plaintiff, and to the public, to maintain the travel

stop’s premises, and especially areas where Defendants knew that persons such as

Plaintiff regularly travelled and traversed, in a reasonable, safe, and usable manner, and

otherwise owed a duty to exercise reasonable care correlating to the failures mentioned

below.

         20.   That Defendants were careless, negligent, grossly negligent, reckless,

willful and wanton in one or more of the following manners:

               a.     In failing to timely warn invitees, including Plaintiff, of the dangerous

                      condition posed by the oil and/or fuel at a public thoroughfare of its

                      travel stop;

               b.     In failing to timely remedy the dangerous condition posed by the oil

                      and/or diesel at a public thoroughfare of its travel stop;

               c.     In failing to safely maintain the public thoroughfare of its travel stop;



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        d.          In failing to timely remove oil and/or fuel at the public thoroughfare of

                    its travel stop;

        e.          In failing to timely inspect the public thoroughfare of its travel stop;

        f.          In failing to warn the public of the dangers of the dangerous

                    condition;

        g.          In failing to use, place, or change out adequate safety precautions at

                    the public thoroughfare of its travel stop to protect the ambulating

                    public from stepping into or around the spilled oil and/or fuel;

        h.          In failing to have adequate policies, procedures, and/or protocols,

                    and in failing to adequately train its employees, relating to:

              i.           Inspection of the public thoroughfare;

             ii.           Maintenance of the public thoroughfare;

             iii.          Procurement and/or timely replacement or clean up of the

                           public thoroughfare to protect the ambulating public from

                           stepping into or around the spilled oil and/or fuel;

             iv.           Timely placement and/or use of adequate warning devices,

                           signs, or other safety measures to warn the public of the

                           spilled oil and/or fuel;

        i.          In failing to properly or adequately train travel stop employees

                    regarding public thoroughfare safety, or otherwise;

        j.          In failing to abide by industry standards and best practices regarding

                    thoroughfare cleanup, maintenance, warnings, and safety;

        k.          In failing to timely and properly place or install adequate devices,




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             signs, or other safety precautions to warn of thoroughfare hazards;

        l.   In failing to place an appropriate, adequate, or dry mat or covering

             over the spilled oil and/or fuel;

        m.   In failing to act as a reasonably prudent property owner would have

             acted relating to accessibility, usability, and safety of its public

             thoroughfares;

        n.   In failing to abide by statutes, regulations, standards, guidelines, and

             codes relating to the clean up of an oil or fuel spill;

        o.   In otherwise allowing a dangerous accumulation of oil and/or fuel to

             remain on the ground in its public thoroughfare;

        p.   In failing to inquire about, or to abide by, recommendations,

             instructions, or best practices relating to the adequate placement,

             installation, adherence, inspection, replacement, or maintenance of

             adequate oil or fuel spill clean up measures, including, but not limited

             to, absorbents;

        q.   In failing to sweep up or pick up any absorbed materials;

        r.   in designing, specifying, installing, constructing, and maintaining a

             public thoroughfare that is not sufficiently slip resistant when oil

             and/or fuel spills to meet the requirements of applicable statutes,

             regulations, standards, guidelines, and codes relating to accessibility

             and safety, or otherwise sufficiently slip-resistant to be safe for the

             public; and

        s.   In such other particulars as the evidence produced in discovery and




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                     at trial may show.

       21.    As a direct and proximate result of Defendants’ negligence regarding this

incident, Plaintiff suffered past, present, and future damages, including, but not limited to,

loss of income, loss or impairment of earning capacity, out-of-pocket expenses, medical

expenses and transportation expenses connected with medical treatment, future

damages resulting from permanent injuries, loss of family services, alteration of lifestyle,

psychological trauma, mental anguish, mental distress, apprehension, anxiety, emotional

injury, psychological injury, depression, pain and suffering, and loss of enjoyment of life.

       22.    Upon information and belief, Plaintiff is entitled to judgment against

Defendants, jointly and severally, for actual and punitive damages for their negligence,

gross negligence, carelessness, recklessness, and willful and wanton acts and/or

omissions.

       WHEREFORE, having set forth his Complaint, Plaintiff would respectfully request

judgment against Defendants, jointly and severally, for actual damages, punitive

damages, costs, attorney’s fees, pre-judgment interest, and any other relief the Court may

deem just and equitable.

       Plaintiff hereby demands a trial by jury.




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                                      HOPKINS LAW FIRM, LLC

                                      s/ J. Clay Hopkins
                                      J. Clay Hopkins, SC Bar #102053
                                      12019 Ocean Highway
                                      Post Office Box 1885
                                      Pawleys Island, South Carolina 29585
                                      (843) 314-4202 - Telephone
                                      (843) 314-9365 - Facsimile
                                      clay@hopkinsfirm.com

                                      Attorney for the Plaintiff

Pawleys Island, South Carolina

August 2, 2022




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